Case 2:19-cv-05706-FMO-PJW Document 1-1 Filed 07/01/19 Page 1of52 Page ID#:9

EXHIBIT A
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 2o0f52 Page ID #:10

   

CSC

 

 

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. . Transmittal Number: 19905511
Notice of Service of Process Date Processed: 06/05/2019
Primary Contact: Leah Talactac
Viking Cruises
5700 Canoga Ave
Ste 200
Woodland Hills, CA 91367-6569
Entity: Viking Cruises USA Ltd
Entity ID Number 3702774
Entity Served: Viking Cruises, Ltd.
Title of Action: Axel Freudmann vs. Viking River Cruises, Inc d/b/a Viking Cruises and Viking
Ocean-Cruises
Document(s) Type: Summons/Complaint
Nature of Action: Class Action
Court/Agency: Los Angeles County Superior Court, CA
Case/Reference No: 19STCV16053
Jurisdiction Served: California
Date Served on CSC: 06/03/2019
Answer or Appearance Due: 30 Days
Originally Served On: CSC
How Served: Personal Service
Sender Information: Carol Lynn Finklehoffe

305-373-3016

 

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 30f52 Page ID #:11

 

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a . T ittal Number: 19904637
Notice of Service of Process “bate Processed: 06/05/2019

 

Primary Contact: Leah Talactac
Viking Cruises

5700 Canoga Ave

Ste 200

Woodland Hills, CA 91367-6569

 

Entity:

Entity Served:
Title of Action:

Document(s) Type:

Nature of Action:
Court/Agency:
Case/Reference No:
Jurisdiction Served:

Date Served on CSC:
Answer or Appearance Due:
Originally Served On:

How Served:

Sender Information:

Viking Ocean Cruises II Ltd.
Entity ID Number 3702777

Viking Ocean Cruise Ltd., A Corporation For Profit

Axel Freudmann vs. Viking River Cruises, Inc d/b/a Viking Cruises and Viking
Ocean-Cruises

Summons/Complaint

Class Action

Los Angeles County Superior Court, CA
19STCV16053

California

06/03/2019

30 Days

CSC

Personal Service

Carol Lynn Finklehoffe
305-373-3016

 

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NOTICE TO DEFENDANT: Viking River Cruises, Inc. d/b/a Viking Cruises and Viking ORIGINAL FILED
(AVISO AL DEMANDADO): Ocean Cruises, a corporation for profit; Viking Ocean Cruise|  Superlor Gourt of Gallionua
Ltd., a corporation for profit, Viking Ocean Cruise Il, Ltd., a corporation for profit, Viking Gountw —
Cruise, Ltd., a corporation for profit, Viking Cruises USA, Ltd., a corporation for profit, Viking MAY 08 2019
PUG RHE IGS OBE hy CIAL” Profit Seert R Officer!Clerk of Court
(LO ESTA DEMANDANDO EL DEMANDANTE):

Axel Freudmann & Lauren Freudmann., individually and on behalf of all
similarly situated, Class Plaintiffs

 

 

NOTICE! You have been sued. The court may decide against you without your being heard un'ess you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and hava a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your ‘esponse. You can find these court forms and more information at the California Courts
Oniine Self-Help Center (sw. courtinfo.ca. gov/selfhelp), your county law library. or the courthouse nearest you. tf you cannot pay the fi ing fea, ask
the court clerk for a fee waiver form. if you do not file your response on time. you may lose the case by default, and your wages, money, and property
may be taken without further warning fram the court.

There are other legal requirements. You may want to call an attomey right away. If you do not know an attorney, you may want lo call an attorney
referral sarvico. If you cannot afford an attornay, you may be eligible for frea legal servicer from a nonprofit lagal services program You can lacate
thase nonprofit groups at the California Legal Services Web site (wwiy lawhelpcalifarnia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by cantacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's len must be paid before the court will dismiss the case
IAVISO! Lo han damandado. Si no responde dentro de 30 dias, fa corte puede decidir en su contra sin escuchar su version. Lea la infermacion a
continuacion.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia af demandante. Une carta o una ilamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea qua procesen su caso en ia corte. Es posible que haya un farmutario que usted pueda usar para su respuesta.
Puede encontrar estos formulanos de ta corte y mas informacién en el Centro de Ayuda de fas Cortes de Califomia (www.sucorte ca.gov), en /a
biblioteca de leyes de su condado o en la corte que fe quede mas cerca. Sino puede pagar /a cuota de presantacion, pida al secretano de la corte
que le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo puede perder ef caso por incumplimiento y |a corte je
podré quitar su sueldo, dinero y bienes sin més advertencia.

Hay otres requisites legales, Es recomendable que ame a un abogade inmediatamente. Si no conoce a un abogado, puede lamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legales gratuitos de un
Programa de servicios legales sin fines de fucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califomia Legal Services.

{www lawhalpealifamia arg), en ef Centro de Ayuda de las Cortes de Califomia, (www sucorte.ca.gov) 0 poniéndase en contacto con fa corte o ef
colegio de abogados locales. AVISO. Por ley, la corte tiene derecho a reciamar las cuctas y los costes exentos por imponer un gravamen sobre
cualquier recuperacion de $10,000 6 més de valor recibida mediante un acuerdo o une concesion de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de /a corte antes de que fa carte pueda desechar el caso.

 

 

 

 

 

 

The name and address of the court is’ CASE NUMBGR,

(El nombre y direccién de la corte es): Stanley Mosk Courthouse (aimer wah) S T C V 1 6 0 5 3
111 North Hill Street
Los Angeles, CA

The name, address, and telephone number of plaintiffs attomey, or plaintiff without an attomey, is.
(Ei nombre, la diraccion y ef numero de teléfono del abogado de! demandente, o del demandante que no tiene abogado. es):

Carol Finklehoffe, Esq.. 2 S Biscayne Blvd.. Suite 1776. Miami, FL 33131 (305) 373-3016

= Stent R. Carter, Clerk
DATE: MAY 08 2019 Clerk, by . Deputy
(Fecha) (Secretario) ___ STEVEN DREW __(Adjunto)

(For proof of service of this summons, use Proot of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use ef formulario Proof of Service of Summons, (POS-070)).
NOTICE TO THE PERSON SERVED: You are served

 

 

 

 

 

(SEA 1. [2] as an individual defendant.
2. (__] as the person sued under the fictitious name of (specify).
3, J on behalf of (specify)
under [_] ccP 416 10 (corporation) [L] CCP 416.60 (minor)
(__] CCP 416.20 (defunct corporation) [__} CCP 416.70 (conservatee}
(["] CCP 416.40 (association or partnership) [__] CCP 416.90 (authonzed person)
(7) other (specify)
4 [] by personal delivery on (date) nage so
ron oe peysoelt ue SUMMONS Code ol Civil Procedure §§ 412 20 465

wy coursnfo ca gov
SUM-100 [Rev July 1. 2009)
LIPCON, MARGULIES, ALSINA & WINKILEMAN P.A,
2 S Biscayne Boulevard, Suite 1776

MIAMI, FL 33131
TELEPHONE. (305)373-3016 FAX. (305)373-6204

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Carol Lynn Finklehoffe. CA Bar No. 220309 CONFORMED COPY

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LIPCON MARGULIES ALSINA & WINKLEMAN superer Court of California
i j ntw of Las e
One Biscayne Tower, Suite 1776 County of Los Ana

Miami, FL 33131 MAY 08 2019
Tel: 305-373-3016 Sherri R. Carter, Exeeativg Officer/Clerk of Court
or had
Steven Drew

Fax: 305-373-6204
Email: cfinklehoffe@lipcon.com

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

Attorneys for Plaintiff

AXEL FREUDMANN, and LAUREN CASENO.: 19STCV16053
FREUDMANN, individually and on

behalf of all similarly situated, Class) PLAINTIFFS’ CLASS ACTION
Plaintiffs, COMPLAINT AND DEMAND FOR
JURY TRIAL

Plaintiffs,

VS.

VIKING RIVER CRUISES, INC d/b/a
VIKING CRUISES and VIKING
OCEAN CRUISES, a corporation for
profit; VIKING OCEAN CRUISE, LTD,
a corporation for profit, VIKING
OCEAN CRUISE II, LTD., a corporation
for profit, VIKING CRUISE, LTD., a
corporation for profit, VIKING
CRUISES USA, LTD., a corporation for
profit, VIKING RIVER CRUISE
(INTERNATIONAL) LLC, a
corporation for profit,

Defendants.

 

 

:

FILE BY FAX

 
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.

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COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiffs, AXEL FREUDMANN and LAUREN FREUDMANN, bring this class
action, individually and on behalf of all similarly situated passengers on the Viking
Sky, hereby sue Defendants, VIKING RIVER CRUISES, INC d/b/a VIKING
CRUISES and VIKING OCEAN CRUISES, a corporation for profit; VIKING
OCEAN CRUISE, LTD, a corporation for profit, VIKING OCEAN CRUISE II,
LTD., a corporation for profit, VIKING CRUISE, LTD., a corporation for profit,
VIKING CRUISES USA, LTD., a corporation for profit, VIKING RIVER CRUISE
(INTERNATIONAL) LLC, a corporation for profit, and for good cause alleges:
Jurisdiction and Parties

1. This Court has jurisdiction over this action pursuant to section 410.10 of
the California Code of Civil Procedure.

2. Venue is proper in this Court pursuant to sections 395 and 395.5 of
California Code of Civil Procedure because the Defendants’ VIKING RIVER
CRUISES, INC d/b/a VIKING CRUISES and VIKING OCEAN CRUISES, VIKING
OCEAN CRUISE, LTD, VIKING OCEAN CRUISE II, LTD., VIKING CRUISE,
LTD., VIKING CRUISES USA, LTD., and VIKING RIVER CRUISE
(INTERNATIONAL) LLC, maintain their principal place of business and worldwide
headquarters within Los Angeles County.

3. Plaintiffs, AXEL FREUDMANN and LAUREN FREUDMANN

(“FREUDMANN”), are residents of New Jersey.

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4. Defendant VIKING RIVER CRUISES, INC d/b/a VIKING CRUISES
and VIKING OCEAN CRUISES was and is a for profit California Company (entity
number: C2221662) with its principle place of business and worldwide headquarters
in Los Angeles County, California.

5. Defendant VIKING OCEAN CRUISES II LTD., isa foreign company
registered to business in California (entity number: C4035597) with its principle place
of business and worldwide headquarters in Los Angeles County, California. VIKING

OCEAN CRUISES II LTD., is a wholly owned subsidiary of VIKING CRUISES,

12/LTD.

6. Defendant VIKING CRUISES USA, LTD., is a foreign company
registered to business in California (entity number: C4035598) with its principle place
of business and worldwide headquarters in Los Angeles County, California.

7. Defendant VIKING OCEAN CRUISES, LTD., is a foreign company
with its principle place of business and worldwide headquarters in Los Angeles
County, California. VIKING OCEAN CRUISES LTD.., is a wholly owned subsidiary
of VIKING CRUISES, LTD.

8. Defendant VIKING CRUISES, LTD, is a foreign company with its
principle place of business and worldwide headquarters in Los Angeles County,
California.

9. Defendant VIKING RIVER CRUISE (INTERNATIONAL) LLC, is a

foreign company with its principle place of business and worldwide headquarters in

 

 
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Los Angeles County, California.

10. Defendants VIKING RIVER CRUISES, INC d/b/a VIKING CRUISES
and VIKING OCEAN CRUISES, VIKING OCEAN CRUISE, LTD, VIKING
OCEAN CRUISE II, LTD., VIKING CRUISE, LTD., VIKING CRUISES USA,
LTD., and VIKING RIVER CRUISE (INTERNATIONAL) LLC are collectively

referred to as “VIKING”).

11. Defendants VIKING represents and holds itself out to the public that its

organization is overseen by the President and Chairman from its worldwide

headquarters in Los Angeles, California as well as some functions from its offices in

Basel, Switzerland.

12. Defendants VIKING, at all times material hereto, personally or through

an agent:

a. Operated, conducted, engaged in or carried on a business venture in this
state and/or county or had an office or agency in this state and/or county;

b. Was engaged in substantial activity within this state;

c. Operated vessels in the waters of this state;

d.  Purposefully availed themselves of the benefits of conducting activities
in California by purposefully directing their activities toward the state,
thereby obtaining the benefits and protections of the state’s laws;

e. The acts of the Defendant set out in this Complaint occurred in whole or

in part in this state and/or county.

 

 
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13. This action is an action under general maritime law and the laws of
California, as applicable.

14. At all times material, Defendants VIKING were and are a common
carrier engaged in the business of marketing, selling and operating a cruise line out of
various ports throughout the world including, Los Angeles, California and Miami,
Florida.

15. At all times material, Defendants VIKING derived substantial revenue
from cruises originating and terminating in various ports throughout the world
including, Los Angeles, California and Miami, Florida.

16. At all times material hereto, Defendants VIKING owned, operated,
managed, maintained and/or controlled the vessel, Viking Sky.

17. At all times material, Defendants VIKING transported fare-paying
passengers on cruises aboard its vessel Viking Sky.

18. At all times material, Defendants VIKING had exclusive control of the
Viking Sky which was in navigable waters.

Class Action Allegations

19. Plaintiffs FREUDMANN bring this action on behalf of themselves and
as representatives of all others who are similarly situated. This action satisfies the
numerosity, commonality, typicality, adequacy, predominance, and superiority
requirements of section 382 of the California Code of Civil Procedure. Plaintiffs

FREUDMANN seek certification of a California Class which is initially defined as

 
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follows: all passengers aboard the Viking Sky during the subject voyage (cruise ID
no.: OSK190314) wherein the Defendants negligently sailed through notoriously
perilous waters into the path of a Bomb Cyclone where, due to the Defendants
negligence, the vessel lost power leaving the vessel adrift to be battered by high seas
and winds as it drifted towards dangerous reefs. Defendants VIKING’s knowing,
intentional and reckless conduct subjects Defendants to the imposition of punitive
damages.

20. Plaintiffs FREUDMANN reserve the right to amend or modify the above
class definition with greater specificity or division into subclasses after having had an
opportunity to conduct discovery.

21. The class of passengers were subjected to severe distress both physical,
psychological and emotional; endured pain and suffering, along with physical and
emotional injury as a result of Defendants VIKING’s negligence and/or gross
negligence and/or intentiona! conduct.

22. Numerosity. The members of the class are so numerous that joinder of
all members is impractical. The exact number of members of the class is unknown at
this time, but Plaintiffs FREUDMANN are informed and believe that there are
roughly 1,000 members of the class as there were over 1,300 passengers and crew on
the subject cruise.

23. Commonality and Predominance. There are questions of law and fact

|common to the class, which predominate over any questions affecting individual

 

 

 
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members of the class. The same misconduct on the part of Defendants VIKING
caused the same or similar injury to each class member, All class members seek
damages under the general maritime law of the United States for Negligence, and
Negligent Infliction of Emotional Distress.

24. Typicality. The claims of Plaintiffs FREUDMANN are typical of the
claims of the class, in that the claims of all members of the class, including Plaintiffs,
depend upon a virtually identical showing of the acts and omissions of Defendants
VIKING, giving rise to the right of Plaintiffs FREUDMANN to the relief sought
herein. Defendants VIKING was at all times material hereto engaged in the same
conduct to the detriment of the entire class of Plaintiffs.

25. Adequacy. Plaintiffs FREUDMANN are the representative party for the
class, and are able to, and will, fairly and adequately protect the interests of the class.
There is no conflict between Plaintiffs FREUDMANN and other members of the class
with respect to this action, or with respect to the claims for relief herein. The attorneys
for Plaintiffs FREUDMANN are experienced and capable in the field of maritime
claims for cruise ship passenger injury, including class actions, and have successfully
represented claimants in other litigation of this nearly exact nature. Three of the
attorneys designated as counsel for Plaintiffs FREUDMANN, Carol L. Finklehoffe,
Jason R. Margulies, and Michael A. Winkleman, will actively conduct and be

responsible for the case herein. Accordingly, Plaintiffs FREUDMANN are an

 
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adequate representative and will fairly and adequately protect the interests of the
Class.

26. Superiority. A class action is superior to other available methods for the
fair and efficient adjudication of this controversy. Since the amount of each individual
Class member’s claim is small relative to the complexity of the litigation, and due to
the financial resources of Defendants, no Class member could afford to seek legal
redress individually for the claims alleged herein. Therefore, absent a class action,
Class members will continue to suffer losses and misconduct of the Defendants
VIKING will proceed without remedy. Even if Class members themselves could
| afford such individual litigation, the court system could not. Given the complex legal
and factual issues involved, individualized litigation would significantly increase the
delay and expense to all parties and to the Court. Individualized litigation would also
create the potential for inconsistent or contradictory rulings. By contrast, a class action
presents far fewer management difficulties, allows claims to be heard which might
otherwise go unheard because of the relative expense of bringing individual lawsuits,
and provides the benefits of adjudication, economies of scale and comprehensive
supervision by a single court.

27. Finally, Plaintiffs FREUDMANN know of no difficulty that will be

encountered in the management of this litigation which would preclude its

maintenance as a class action.

 

 
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General Allegations

28. This Class Action lawsuit involves Defendants VIKING’s knowing and
intentional decision to sail the Viking Sky, carrying roughly 1,000 paying passengers,
into notoriously perilous waters and directly into the path of a massive weather event
known as a Bomb Cyclone; wherein the vessel’s engines, which were negligently
maintained and/or were not adequately fit for such conditions, suffered a complete
| failure, subjecting the passengers terror and fear of imminent death when the Viking
Sky was adrift, without power as it was battered by Storm 10 gale force winds and
more than 30 foot waves, pushing the vessel perilously close to dangerous reefs.

29. Prior to disembarking Tromso, Norway on Thursday March 21, 2019,
there were numerous forecasts which predicted the storm which the Viking Sky
encountered. As early as March 16, 2019, weather models began warning of an

intense cyclone threatening the waters off Norway the weekend of March 23 and 24,

2019: Mk

  
    
      

As early as March 16, weather models
began warning an intense cyclone cauld
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weekend of March 23/24. (Weather.us)

  

 

 

 
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30.

On March 18, 2019, Severe Weather Europe headlined the possibility of

extremely severe wind gusts that could exceed 120 KPH (75mph — hurricane force

winds) for areas off of western Norway:

VALID FOR 19-03-2019

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SLGT risk has been
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31.

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On March 21, 2019, The Shipping Forecast predicted a cyclonic storm

with gale 8 (39-46mph) force winds to storm 10 (55-63 mph) sustained wind speeds:

é) The Shipping Forecast fy
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gale 3 0 storm 10 ster. Snow showers. then rain Istar. hed er peor ace very

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32. On March 22, 2019, Severe Weather Europe was certain that extremely
severe winds would push over western Norway, including the path the Viking Sky
took, the following day, March 23, 2019:

| By SWE | Severe weather outlook DAY 1) = 22 March 2019
VALID FOR 23-03-2019
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ENH risk has been issued for E iceland across the Norwegian
sea into W Norway with threat for severe to extremely severe
winds, locally reaching above 120 km/h.
SLGT risk has been issued for areas surrounding the ENH risk
including south, central and north iceland, Faroe islands, N
scotland, parts of Norway and NW Sweden with threat for
severe winds, locally in excess of 100 km/h.
MRGL risk has been issued for NW Morocco into the extreme
| SW Spain with isolated threat for severe <torms, capable of
producing severe winds and heavy rainfall.

 

 

 
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33. Despite the consensus by numerous weather forecasting agencies’
warning of extremely severe winds of Storm 10 gale force capabilities expected in the
vessel’s intended and actual path, the subject vessel left for its voyage on March 21,

2019.

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34. Defendants VIKING knew or should have known of these Storm 10 gale
force winds, but nonetheless, the Viking Sky left Tromso, Norway on March 21, 2019,
intending to sail to Stavanger, Norway, carrying more than 1,000 paying passengers.
35. After the vessel left Tromso, Norway, the passengers were not informed
of the severity of the weather system the cruise was intending on sailing into. In fact,
it wasn’t until the next day when large waves were rocking the cruise ship, causing

passengers and crewmembers to become seasick, did the vessel alert the passengers

 
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it would not be docking in Bodo, Norway. Remarkably, still nothing was mentioned
about the impending weather. Passengers had no idea they were being subjected to a
historic winter weather event with Storm 10 gale force winds. The only messages
conveyed to passengers was: “this is not a drill, go to muster stations,” after the
vessel’s engines failed.

36. As forecasted by numerous weather forecasting agencies, by the early
morning of Saturday, March 23, 2019, the Storm 10 gale force winds and rough seas
were battering the vessel so severely that passengers were unable to stand in their
staterooms and were being thrown out of their beds; causing various injuries to
passengers, including Plaintiffs FREUDMANN. ~-

37. At approximately 1:50p.m. on March 23, 2019, while sailing through
waves of 30 + feet and winds exceeding hurricane strength, there was a complete
engine failure leaving the vessel without navigation. The loss of engines occurred in
an area called Hustadvika which is known for its notoriously perilous waters dotted
with jagged reefs and is considered one of the most dangerous parts of the Norwegian
Coastline.

38. The vessel was battered and tossed as it was pushed dangerously close
towards the hazardous reefs. At times the vessel listed (tilted) as far as 45 degrees
and passengers were tossed about like ragdolls. Accordingly, a Mayday and/or SOS

call was issued, and Defendants VIKING attempted to launch a high-risk evacuation

of the ship’s 1,300 passengers and crew.

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39. Passengers, fearing for their lives, held onto whatever they could find
while water rushed in through numerous other areas of the vessel. Furniture was
overturned and tossed throughout the vessel; broken glass littered all levels of the
vessel; elevators were inoperable; waves crashed through open and/or shattered

balcony doors.

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26 40. Passengers scrambled to search for life jackets as they desperately tried

at to reach their muster stations.

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41. Over 400 passengers were airlifted hundreds of feet into a helicopter

while being subjected to gusts of hurricane force winds.

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42. Hundreds of passengers, including Plaintiffs FREUDMANN, were
subjected to hours of terror, unsanitary conditions, lack of ventilation, and trauma as
they feared for their lives a result of the cruise traveling through extremely severe
winds — all of which could have been easily avoided if Defendants VIKING simply
waited to sail until after the severe winter storm passed or rerouted the ship so that the
passengers were not exposed to the dangerous weather conditions. As a result of
Defendant’s VIKING’s negligence, passengers sustained physical and emotional
injuries.

43.  Tellingly, two Hurtigruten cruise ships delayed their departure from their
respective port of calls on March 22, 2019, in order to avoid sailing through the worst

of the bomb cyclone the Viking Sky sailed through. As NEWS in ENGLISH reported:

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Investigation begins into cruise drama

March 24, 2019

: SHE Eo,
Norway’s accident investigations board and the maritime directorate have
already launched a probe into why all four engines stalled on the relatively new
cruiseship Viking Slay while it was crossing a stormy stretch of sea off the West
Coast. Questions are also flying as to why the cruiseship, with nearly 1,j00
people on board, kept sailing from Tromso to Stavanger during the storm that
prompted most other vessels to stay in port.

Among them were both the narth- and southbound coastal voyage vessels tn Norway's
Hurtigruten fleet, which plies the Norwegian coast from Bergen in the south to Kirkenes in
the far north, and has been satling over the notoriously rough seas just south of Kristiansund
for more than a century.

Haurtigruten didn't sail

"Because of the bad weather, our captain chose to delay departure from Bergen by i2 hours,”
Hurtigruten spokesman Rune Thomas Ege told newspaper Dagens Neringsliv (DN) on
Monday. That meant the northbound ship would pass the rough patch at Hustadvika on

Sunday morning instead of Saturday afterncon and evening, when the storm was raging at its
worst.

The captain of Hurtigruten's southbound vessel sailing towards Bergen from Trondheim
decided much the same: “Because of the weather forecasts, the captain chose to remain tied
up in Trondheim,” Ege said, "We had to charter flights to get the passengers to and from
Bergen.”

44. Each and all of the foregoing conditions, including but not limited to, the
impending dangerous weather and sea conditions, were known and/or should have
been known to Defendants VIKING prior to the time decision to sail on March 21,
2019. As such, Defendants VIKING knowingly, intentionally and recklessly decided
to sail directly into the path of a Storm 10 gale force storm, thereby placing the lives
at risk of each and every one of the passengers and crew aboard that ship.

COUNT I - NEGLIGENCE AGAINST ALL DEFENDANTS

 

Plaintiffs hereby incorporates by reference, as though fully set forth herein,
paragraphs one (1) through forty-four (44), and alleges as follows:
45. It was the duty of Defendants VIKING to provide Plaintiffs with

reasonable care under the circumstances. Kermarec v. Compagnie Generale

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Transatlantique, 358 U.S. 625, 632, 79 S.Ct. 406, 3 L.Ed.2d 550 (1959). “The degree

of care considered reasonable in a particular circumstance depends upon the ‘extent
to which the circumstances surrounding maritime travel are different from those
encountered in daily life and involve more danger to the passenger.’ ” Samuels v.
Holland American Line-USA Inc., 656 F.3d 948, 953(9" Cir. 2011), citing Rainey v.
Paquet Cruises, Inc., 709 F.2d 169, 172 (2d Cir.1983). Where the condition leading
to a plaintiff's claim is one that is commonly encountered and not unique to the
maritime context, a carrier must have “‘actual or constructive notice of the risk-
creating condition’ before it can be held liable.” /d. at 953, citing Keefe v. Bahama
Cruise Line, Inc., 867 F.2d 1318, 1322 (1 1th Cir.1989). By contrast, where the risk-
creating condition is peculiar to the maritime context a heightened degree of
reasonable care under the circumstances is required. See Catalina Cruises v. Luna,
137 F.3d 1422, 1425-26 (9th Cir.1998) (concluding that “where the risk is great
because of high seas, an increased amount of care and precaution is reasonable”); Kirk
v. Holland American Line, 616 F.Supp.2d 1101, 1105 (W.D.Wash.2007) (declining
to conclude that risks associated with disembarkation are not unique to cruises);

Kearns v. Celebrity Cruises, Inc., 1997 WL 729108, *2 (S.D.N.Y.1997) (holding that

 

 

“given the rough weather attending plaintiff's injury, [the defendant cruiseline] owed
an enhanced duty of reasonable care under the circumstances to its passengers”).
46. Under this heightened/enhanced duty of reasonable care under the

circumstances, Defendants VIKING owed the Plaintiffs FREUDMANN and all

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| others similarly situated, a duty of reasonable care under the circumstances for a
vessels navigating through hurricane force winds and on rough sea conditions, and to
keep passengers, including Plaintiffs FREUDMANN, reasonably safe from the
perilous conditions.

47. On or about March 23, 2019, and continuing until March 24, 2019,
Defendants VIKING and/or its agents, servants, and/or employees breached its duty
of reasonable care under the circumstances, and the Plaintiffs FREUDMANN
Plaintiffs FREUDMANN and all others similarly situated, were injured due to the
fault and/or negligence of Defendants VIKING, and/or their agents, servants, and/or
employees as follows:

a. Failure to use reasonable care to provide and maintain a reasonably safe voyage
for Plaintiffs and others similarly situated;
b. Knowingly sailing the subject vessel into severe weather conditions which

Defendants knew or should have known about;

c. Failing to have proper policies and procedures in place to determine weather
conditions to be expected or encountered;

d. Failing to have proper policies and procedures in place to determine whether it
is reasonably safe to sail given the weather conditions to be expected or

encountered;

e. Deciding to sail the vessel despite severe weather warnings Defendants knew

or should have known about;

 

 

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Failing to have adequate technology capable of properly monitoring weather
conditions in real time;

Sailing the vessel into a Bomb Cyclone;

Sailing the vessel into 30 foot seas;

Failing to turn back the vessel and/or divert the vessel and/or seek safe harbor

when Defendants knew or should have known about the severe weather

conditions;

. Failing to warn passengers of the dangers in light of the severe weather and sea

conditions which Defendants knew or should have known about;
Negligently maintaining the vessel and its engines;
Failure to adequately operate, maintain, inspect and/or repair the engine

systems on board, including the oil levels, oil tanks and/or oil alarms;

. Exposing the vessel to weather and sea conditions with a vessel that was not

reasonable safe or fit for the conditions;
Failure to perform and/or negligent performance of an adequate pre-departure
inspection of the engine systems on board, including the oil levels, oil tanks

and/or oil alarms, before sailing the vesse! in severe weather and sea conditions

which Defendants knew or should have known about;

Failure to utilize available equipment when the vessel listed/tilted so as to
promptly and adequately stabilize the vessel;

Failure to promulgate and/or enforce reasonable policies and procedures with

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regard to adequately inspecting, operating, maintaining, and repairing the
engine systems on board, including the oil levels, oil tanks and/or oil alarms;

Failure to provide adequate training to the personnel inspecting, operating,
maintaining, and repairing the engine systems on board, including the oil levels,
oil tanks and/or oil alarms, so as to avoid unreasonable hazards to passengers;

Failing to promulgate and/or enforce adequate policies and procedures to

prevent the vessel from sailing into an expected storm;

. Failing to promulgate and or enforce adequate policies and procedures to

require the vessel to divert and/or seek safe harbor when an expected storm

became likely;

. Failing to use reasonable care to promulgate and/or enforce adequate policies

and procedures to ensure that the vessel was operated in a safe weather

condition;

. Negligently exposing its passengers to Bomb Cyclone weather conditions;

. Failure to provide adequate training, instruction, and supervision to the captain

and crew;

. Failure to promulgate and/or enforce adequate policies and procedures to

ensure that safety would not be compromised for cost and/or profits;
Failure to adequately maintain, inspect, and/or repair the Viking Sky, its engines

and machinery, so as to prevent the failure of shipboard systems necessary to

ensure the reasonable safety of its passengers;

 
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y. Failure to affirmatively disclose to the Plaintiffs that the vessel experienced a
technical issue that could cause prolonged and extreme listing/tilting;

z. Failure to adequately inspect the Viking Sky, its engines, machinery, and
sanitary systems so as to prevent the failure of shipboard systems necessary to
ensure the reasonable safety of its passengers;

aa. Failure to promulgate policies and/or procedures aimed at preventing the failure
of shipboard systems necessary to ensure the reasonable safety of its
passengers;

bb.Failure to promulgate policies and/or procedures aimed at ensuring a
reasonable emergency plan to protect the health and welfare of passengers
during an emergency;

cc. Failure to determine and/or appreciate the hazards associated with operating
the subject vessel’s propulsion system in severe weather conditions the
Defendants knew or should have known about;

dd. Knowing, as a result of previous similar incidents, of the likelihood of a threat
to passenger safety resulting from all of the above, yet failing to take corrective
action and/or implement policies and procedures aimed at preventing and/or
mitigating the harmful effects of the of the subject incident;

ee, Failure to promulgate adequate storm avoidance policies aimed at ensuring the
safety of passengers;

ff. Failure to employ an in-house meteorological staff tasked with monitoring

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| storms and/or sea conditions to ensure the safety of passengers.
48. At all material times, Defendants VIKING had exclusive custody and
4|| control of the vessel, Viking Sky.
° 49. Defendants VIKING knew of the foregoing conditions causing injury to
6
7 the Plaintiffs FREUDMANN and did not correct them, or the conditions existed for a
8 | sufficient length of time so that Defendants in the exercise of reasonable care under
9 the circumstances should have learned of them and corrected them.
x 7 50. As a result of the negligence of Defendants VIKING, Plaintiffs
i : 12 || FREUDMANN, were injured about their body and extremities, suffered both physical
: les , pain and suffering, mental and emotional anguish, loss of enjoyment of life, temporary
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le ys ||and/or permanent physical disability, impairment, inconvenience in the normal
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aly 16]| pursuits and pleasures of life, feelings of economic insecurity, disfigurement,
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: 3 - aggravation of any previously existing conditions therefrom, incurred medical
7 19 || expenses in the care and treatment of their injuries including life care, suffered
20 |! physical handicap, lost wages, income lost in the past, and their working ability and
- earning capacity has been impaired. The injuries and damages are permanent or
3 | continuing in nature, and Plaintiffs will suffer the losses and impairments in the future.
24 | In addition, Plaintiffs lost the benefit of their vacation, cruise, and transportation costs.
25 WHEREFORE the Plaintiffs demand judgment for all damages recoverable
6 under the law against the Defendant, including punitive damages as permitted by law
is and demand trial by jury.

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COUNT II —- NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

Plaintiffs hereby incorporates by reference, as though fully set forth herein,
paragraphs one (1) through forty-four (44), and alleges as follows:

51. At all times material, due to the negligence and/or gross negligence
and/or intentional conduct of the Defendants, Plaintiffs FREUDMANN were placed
in an immediate risk of physical harm. Said risk of physical harm included but is not
limited to: injury and/or death and/or severe emotional and/or psychological trauma.

52. Defendants’ VIKING negligence and/or gross negligence and/or
intentional conduct caused severe mental and/or emotional harm and/or distress in the
Plaintiffs FREUDMAN, such as fear of imminent death and anxiety. These emotional
injuries and/or damages have also resulted in physical manifestations, such as
sickness, nausea, exhaustion, fatigue, headaches, insomnia, lack of sleep, poor sleep
and nightmares.

53. During the time period alleged in the Complaint, Plaintiffs
FREUDMAN, and those similarly situated, were subjected to the vessel’s prolonged
listing, violently side to side, waves crashing into the side and breaking glass
windows, water flooding into the vessel and were subjected to the violent storm
causing a reasonable fear of imminent death and the sinking of the vessel.

54. Plaintiffs FREUDMAN aboard the Viking Sky were placed in the zone
of danger as a result of the violent storm. Each Plaintiff was in close proximity to

conditions which did cause or could have caused serious physical, mental and/or

 

 

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emotional injury and/or illness.

55. Plaintiffs’ FREUDMANN fear of death and experience of mental,
emotional and/or physical harm were genuine and well founded and Plaintiffs suffered
mental or emotional harm (such as fright and anxiety) that was caused by the
negligence of Defendant VIKING. This fright and anxiety has further manifested
itself as multiple physical symptoms experienced by the Plaintiffs FREUDMANN,
including but not limited to insomnia, depression, anxiety, nightmares, and dizziness.

56. As a result of the negligence of Defendants VIKING, Plaintiffs
FREUDMANN, were injured about their body and extremities, suffered both physical
pain and suffering, mental and emotional anguish, loss of enjoyment of life, temporary
and/or permanent physical disability, impairment, inconvenience in the normal
pursuits and pleasures of life, feelings of economic insecurity, disfigurement,
aggravation of any previously existing conditions therefrom, incurred medical
expenses in the care and treatment of their injuries including life care, suffered
physical handicap, lost wages, income lost in the past, and their working ability and
earning capacity has been impaired. The injuries and damages are permanent or
continuing in nature, and Plaintiffs will suffer the losses and impairments in the future.
In addition, Plaintiffs lost the benefit of their vacation, cruise, and transportation costs.

WHEREFORE the Plaintiffs demand judgment for all damages recoverable

under the law against the Defendant, including punitive damages as permitted by law

and demand trial by jury.

 
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Prayer for Relief

WHEREFORE, the Plaintiffs FREUDMANN respectfully request the Court
enter judgment in her favor and against the Defendants VIKING as follow:
1. To enter judgment in favor of the Plaintiffs against Defendants on all
causes of action as alleged herein;

2. To award compensatory damages in the amount to be ascertained at trial;
3. To award punitive damages, as permitted by law;

4. To award costs of suit, as permitted by law;

5. For prejudgment interest according to proof; and

6. To enter such other and further relief as the Court deems just under the

circumstances.

LIPCON MARGULIES ALSINA & WINKLEMAN

DATED: May 8, 2019.

BY: s/ Carol L. Finklehoffe
CAROL L, FINKLEHOFFE
Attorney for Plaintiff

Demand for Jury Trial
Plaintiffs FREUDMANN hereby demand a trial by jury on all claims for

relief.

 

 
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DATED: May 8, 2019.

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LIPCON MARGULIES ALSINA & WINKLEMAN

BY: s/ Carol L. Finklehoffe
CAROL L. FINKLEHOFFE
Attorney for Plaintiff

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SHORT TTLE Freudmann, et al. v. Viking River Cruises, Inc , et al

CASE NUMBER

 

 

CIVIL CASE COVER SHEET ADDENDUM AND

STATEMENT OF LOCATION

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(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form fs required pursuant to Local Rule 2.3 In all new civil case filings in the Los Angeles Superior Court.

 

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: In Column 8, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which ex

1, Class actions must be filed in the Stanley Mosk Courthouse, Centra! District.

chosen.

plains the reason for the court filing location you have

 

 

Applicable Reasons for Choosing Court Filing Location (Column Cc)

 

 

2. Permissive filing in central district.
3. Location where cause of action arose.

4. Mandatory personal injury filing In North District.
5. Location where performance required or defendant resides

7. Location where petitioner resides.

FILE BY FAX
CA RULE 2.303

8 Location wherein detendanvrespondent functions wholly.

9. Location where one or more of the parties res
10. Location of Labor Commissioner Office.

ide.

11. Mandatory filing location (Hub Casas — unlawful detainer, limited

non-collection, limited collection, or personal injury).

6. Location of property or permanently garaged vehicle.

 

 

 

 

 

 

 

 

 

 

 

 

A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Auto (22) © A7100 Motor Vehicle - Personal injusy/Property Damage/Wrongful Death 1.4.11
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2 5 Uninsured Motorist (46) O A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist. | 4, 4, 14
O A6070 Asbestos Pra; Damage 1,11
Asbestos (04) party
Pr 0 A7221 Asbestos - Personal injuryWrongful Death Lt
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Ss 3 Product Liability (24) [J A7260 Product Liability (not asbestos or toxic/enviranmental) 1.4, 11
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5 é injury Propesty 1] A7230 Intentional Bodily ‘njury/Property DamageMWrongtul Death (e.9.. 140
3 4 Damage Wrongful assaulk, vandalism. etc.) hat
Death (23) © A7270 Intentional infliction of Emotional Distress “4.
A7220 Other Personal Injury/Property Damage/Wrongful Death a BA
‘xe Teen nae CIVIL CASE COVER SHEET ADDENDUM Local Rule 23
so kerereeneas AND STATEMENT OF LOCATION Page 1 of 4
 

Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 33 0f 52 Page ID#:41

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE Ereudmann, et al. v. Viking River Cruises, inc, et al CADE HUBIEER
A B C Appicable
Civil Case Cover Sheet Type of Action Reasons - See Step 3
Category No. (Check only one) Above
Business Tart (07) O A6029 Other Commercial/Business Tort (nol fraud/breach of contract) 1,2,3
t
: e Civil Rights (08) O AG005 Civil Rights/Discrimination 1,2,3
os
> 3 Defamation (13) © AG010 Defamation (slander/ bel) 1.2.3
32
3 2 Fraud (16) O A6013 Fraud (no contract) 1,2,3
s
O A6O17 Legal Malpractice 1,2,3
z % Professional Negligence (25) P
= E 0 A6ON50 Other Professional Malpractice (not medical or legal) 1,2.3
26
Other (35) © A6025 Other Non-Personal Injury/Property Damage tart 1,2.3
g Wrongful Termination (36) | A6037 Wrongful Termination 1,2,3
E Q A6024 Other Employment Complaint Case 4,2,3
a Other Employment (15)
& O A6109 Labor Commissioner Appeais 10
O A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 2.5
evictlan) .
Breach af — Warranty | agoo8 ContractWarranty Breach -Seller Plaint ff (no fraudinegigence) ee
(not insurance) 0 A8019 Negligent Breach of ContracyWarranty (no fraud) L258
© A6028 Other Breach of ContraclWarranty (not fraud or negligence) 1.2.5
3 © A6002 Collections Case-Seller Plaintiff 5,6, 11
§ Collections (09) .
5 CG A6012 Other Promissory Note/Cotlections Case §, 11
o O AG034 Collections Case-Purchased Debt (Charged Off Consumer Debt 5, 6,141
Purchased on or after January 1, 2014)
Insurance Coverage (18) O A6015 Insurance Coverage (not complex) 1,2.5 8
O A6009 Contractual Fraud 1,2,3.5
Other Contract (37) UO A6031 Tortlous interference 1,2,3.6
CO A6027 Other Contract Dispute(nat breach/insurance/fraud/negligance) 1,2,3.8,9
Eminent Domairv/inverse 5
Condemnation (14) OG A7300 Eminent Domain‘Condemnation Number of parcels, 2,6
i Wrongful Eviction (33) O A6023 Wrongful Eviction Case 2,68
3 © A6018 Morigage Foreclosure 7.6
% Other Real Property (26) G AG6O32 Quiet Title 2.6
O A6060 Other Real Property (not aminent domain, landlord/tenant, foreclosure) | 2,6
. Disaweul rn waciiae 0 AG6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 6, 41
og
¢
3 Unlawful Detainer-Residential | r 6020 Uniawtul Detainer-Residental (not drugs or wrongful eviction) 8,11
z Unlawtul Detainer-
: Post-Foreclosure (34) © A6020F Uniawtul Detainer-Post-Foreciosure 2,6, 11
5 Unlawtul Detainer-Drugs (38) | © A6022 Unlawtul Detainer-Drugs 2,6, 11
LASC CIV 109 Rev. 12/18 CIVIL CASE COVER SHEET ADDENDUM Local Rule 23
*v. AND STATEMENT OF LOCATION Page 2 of 4

For Mandatory Use
 

Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 340f52 Page ID #:42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SRORTTITLE Fraudmann, ef al. v. Viking River Cruises, Inc., et-al CASE NUMBER
A B C Applicable
Civil Case Cover Sheet Type of Action Reasons - Sea Step 3
Category No. (Chack only one) Above
Asset Forfeiture (05) O A6108 Assat Forfeitura Case 2, 3.6
> Patition ra Arbitration (11) GO A6115 Petition to Compel/Confirm/Vacate Arbitration 2,5
2
=>
& Cl} AG1S1 Writ - Administrative Mandamus 2.8
2 Writ of Mandate (02) 0 A6152 Writ- Mandamus on Limited Court Case Matter
3 O A6%53 Writ - Other Limited Court Case Review
Other Judicial Raview (38) DB A6150 Other Writ Judicial Review 2.8
5 Antitrust/Trade Regulation (03) | =AG003 Antitrust/Trade Regulation 1,2,8
& Construction Dafect (10) © A6007 Construction Defect 1,2,3
al :
3 Claims involving Mass Tort |} by agoos Claims Involving Mass Tort 1.2.8
ma
Ee
3 Securities Litigation (28) 1 A6035 Securities Litigation Case 1,2.8
BS
e Toxic Tart .
3 Environmental (30) O A6O36. Toxic TorvEnvironmental 1.2.3.8
3 Insurance Caverage Claims .
a from Complex Case (41)  A6014 Insurance Coverage/Subrogation (complex case only) 1,2,5,8
f A6i41 Sister State Judgment 2,5, 11
z - QO A6160 Abstract of Judgment 2.6
2 Enforcement Q AG107 Confess{an of Judgment (non-domestic relations) 2.9
o of Judgment (20) ;
5 3  AG6140 Administrative Agency Award (not unpald taxes) 2,8
a 3 OC AS114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2,6
£3 AG112 Other Enforcement of Judgment Case 2,8,9
ee
RIGO (27) 1 AGD33 Racketeering (RICO) Case 1,2,8
4
38 D AG030 Declaratory Relief Only 1.2.8
2 &
; 5 Other Compiaints (1 A6040 injunctive Reilef Only (not domesticinarassment) 2.8
as (Not Specified Above) (42) | 6011 Other Commercial Complaint Case (non-tortinon-complex) 1,2,8
SG O A6000 Other Civil Complaint (non-tortfnon-comp‘ex) 1.2.8
Pace)  A6113 Partnership and Corporate Govemance Case 2.8
EF A6121 Civil Harassment With Damages 2,3,9
38 (1 A8123. Workplace Harassment With Damages 2,3,9
o
S use Case With Damages 2,3,9
§ 3 Other Pafiions (Not CO) AG124 EldarDepandent Adult Abi amag
a = Specified Above) (43) (2 A6190 Election Contest 2
=o (1 A6110 Petition for Change of Nama/Change of Gender 2.7
© AG170 Petition for Retlef from Lata Claim Law 2.3.8
1 AG100 Other Civil Patition 2.9
GIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC CIV 109 Rev. 12/18
For Mandatory Use

AND STATEMENT OF LOCATION Page 3 of 4
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 350f52 Page ID #:43

 

SHORTT TLE. Freudmann, et al. v. Viking River Cruises, Inc., et al CASE NUMBER

 

 

 

 

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
(No address required for class action cases).

 

ADDRESS
R ™ Stanley Mosk Courthouse
23045 67 8 9 10 11 171 Noah Fag Strom

 

 

 

 

 

 

 

CITY STATE ZIP CODE
Los Angetes CA 90401
Step 5: Certification of Assignment: | certify that this case is properly filed in the Cental District of

 

the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)({1)(E)].

“y

pated: 19 / aa. Xie teholhS—

(SIGNATURE OF ATTORNEY/FILING PARTY) [

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.
If filing a Complaint, a completed Summons form for issuance by the Clerk.

2
3. Civil Case Cover Sheet. Judicial Council form CM-010.
4

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
02/16).

n

Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

6. Asigned order appointing the Guardian ad Litem, Judicial Council form ClV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

CIVIL CASE COVER SHEET ADDENDUM Local Rule 23

niacegpicainaiieaiad AND STATEMENT OF LOCATION Page 4 of 4
For Mandatory Use
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 36 of 52 Page ID #:44
\Ir YQ iF

  

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number and actaress)

Cc P
Seagate Fa Pe Bho cet te
: S. Biscayne Blvd, Suite 1776 Corniv altace Anoeles
Miami, FL 33131 40S) 373-3016
- -62
srromey once, Baits mano; (905 )315-0204 MAY 08 2019

 

SUPERIOR GOURT OF CALIFORNIA, COUNTY OF Los Angeles

‘ ive Officer!Clerk of Cour
steer anoress 11] North Hill Street eerie Et
MAILING ADDRESS. By » Deputy
ctyanozecooe Los Angeles. CA even Drew

srancuiaue Stanicy Mosk Courthouse

 

 

 

 

 

CASE NAME:
Axel & Lauren Fredumann. et al. v. Viking River Cruises. Inc.. et al.

{YJ untimited  ([] Limited POSTCV16053
(Amount (Amount Cc) Counter CC Joindar =
demanded demanded is Filed with first appearance by defendant JUDGE
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT

 

items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

    

CA RULE 2.303

 

Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) [7] Breach of contractWwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) Rule 3.740 collections (09) ) Antitrust/Trade regulation (03)
Other PI/PDAWD (Personal Injury/Property Other collections (09) C1] Construction defect (10)
DamageWrongful Death) Tort Insurance coverage (18) a | Maas tort (40)
Asbestos (04) Other contract (37) {_) Securities litigation (28) F
Product liability (24) Real Property [J] Environmental/Toxic tort (30) nr
Medical maipractice (45) Eminent domainfinverse [_] insurance coverage claims arising fromthe
Other PIPDAWD (23) condemnation (14) above listed provisionally complex case iL
Non-PUPDAWD (Other) Tort [] wrongfut eviction (33) types (41)
Business tort/unfair business practice (07) [} other reat property (26) Enforcement of Judgment
[J civit rights (08) Unlawful Detainer [J Enforcement of judgment (20)
bl Defamation (13) [J Commercial (31) Miscellaneous Civit Complaint
Fraud (16) CJ Resitentiat (32) [J rico
{_] intettectual property (19) CJ) Drugs (38) Other complaint (not specified above) (42)
[_] Protessional nagiigence (26) Judicial Review Miscellaneous Civil Petition
CJ other non-PuPDAWD tort (35) Asset forfeiture (05) Partnership and corporate governance (21)
Employment C] Petition re: arbitration award (11) Cc] Other petition (nor specified above) (43)
Wrongful termination (36) {J whit of mandate (02)
Other employment (15) {| _ other judiciai raview (39)

 

 

2 Thiscase L¥}is [|_isnot complex under rule 3 400 of the California Rules of Court If the case is complex, mark the
factors requiring exceptional judicial management:

a(_] Large number of separately represented parties d. Large number of witnesses

b.L¥} Extensive motion practice raising difficult or novel e [_] Coordination with related actions pending in one or more courts
‘ssues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
c {v¥J Substantial amount of documentary evidence f. CC Substantial postiudgment judicial supervision

3. Remedies sought (check aif that apply): aly] monetary b TY] nonmonetary: declaratory or injunctive relief —c. LY Ipunitive
4. Number of causes of action (specify):

5. This case is isnot aclass action suit.

6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

Date: 5/8/19 )

Carol Finklehoffe CYIMKL —
_____________]1YPEORPRINTNAME) ‘SIGHATURE OF PARTY OR AgIDRNEY FOR PARTY)

 

NOTICE y
e Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed

under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rute 3.220.) Failure to file may result
n sanctions.

® File this cover sheet in addition to any cover sheet required by loca! court rule.
® If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on ali
other parties to the action or proceeding.

* Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. oart

‘es of . tues 2.30, 3.220, 3 . 3740;
Fem gape ares Lae CIVIL CASE COVER SHEET ST ee eee
EMBO [Rev July t 2007) wany cournnfo ca gov

 

 
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 37 of 52 Page ID #:45

CM-010
. INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civ! Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. in item 1. you must check
one box for the case type that best descnbes the case. if the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3 220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A “collections case" under ru'e 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1} ort
damages, (2) punitive damages. (3) recovery of real property. (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. in complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court. this must be indicated by
completing the appropriate boxes in items 1 and 2. If a p'aintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or. if the plaintiff has made no designation, a designation that

the case is complex.

CASE TYPES AND EXAMPLES
Auto Tort Contract Provisionally Complex Civil Litigation (Cal.
Auto (22}-Personal Injury/Property Breach of Contract/Warranty (06) Rules of Court Rules 3.400-3.403)}
Damage/Wrongful Death Breach of Rental/.ease Antilrust/Trade Regulation (03)
Uninsured Motonst (46) (if the Contract (not untawful detainer Construction Defect (10)
case involves an uninsured or wrongful eviction) Ctaims involving Mass Tort (40)
motorist claim subject to Contract/Warranty Breach-Seller Securities Litigation (28)
arbitration, check this item Plaintiff (not fraud or negligence) Environmental/Toxic Tort (30)
instead of Auto) Negligent Breach of Contract/ insurance Coverage Claims
Other PUPDAWD (Personal Injury! Warranty (arising from provisionally complex
Property Damage/Wrongful Death) Other Breach of Contract/Warranty case type listed above) (41)
Tort Collections (e g., monay owed, open Enforcement of Judgment
Asbestos (04) book accounts) (09) Enforcament of Judgment (20)
Asbestos Property Damage Collection Case-Seller Plaintiff Abstract of Judgment (Out of
Asbestos Personal Injury/ Other Promssory Note/Collections County)
Wrongful Death Case Confession of Judgment {non-
Product Liability (not asbestos ar Insurance Caverage (not provisionally domestic refations)
toxic/anvironmental} (24) complex) (18) Sister State Judgment
Medical Malpractice (45) Auto Subrogation Administrative Agency Award
Medical Malpractice— Other Coverage (not unpaid taxes)
Physicians & Surgeons Other Contract (37) Petition/Centification of Entry of
Other Professional Health Care Contractual Fraud Judgment on Unpaid ‘Taxes
otne Lncdeged an mn Contract Dispute Other Enforcement of Judgment
¢ PUPDAWD @ pe:
Premises Liabiity {eg., stip Eminent Domairvinverse Miscellaneous Civil Complaint
and fall) Condemnation (14) RICO (27)
Intentional Bodily injury/PDAVD Wrongful Eviction (33) Other core (not speciied
(e.g., assault, vandalism) Other Real Property (8.9.. quiet title) (26) above

Intentional Inflictian of

Writ of Possession of Real Property

Declaratory Relief ot
inon-

Emotional Distress Mortgage Foraclosure a
Negligent infiction ¢ of Quiet Title Mechanics Lien
ress Other Real Property {not eminent
crea erent de mera ons naan
Non-PVPDAWD (Other) Tort foreciosure) Other Civil Comptaint
Hushess TorvUnfair Business Untawful alii inon-tortnon-comp
actice (07) ; Commercial Miscellaneous Clvil Patition
Civi Rights (e.g., discrimination, Residential (32) Partnership and Corporate
false arrest) (not civil Drugs (38) {if the case involves illegal Governance (21)
harassment) (08) drugs, check this item; otherwise, Other Petition (not specified
Defamation (e.g., stander, libel) report as Commercial or Residential) above) (43)
Judicial Review Civil Harassment
Fraud (16) Asset Forfeiture (05) Workplace Violence
Intellectual Property (19) Petition Re; Arbitration Award (* 1) Elder/Dependent Adult
Professional Negligence (25) Writ of Mandate (02) Abuse
Legal Malpractice Writ-Administrative Mandamus Election Contest
Other Professional Malpractice Writ-Mandamus on Limited Court Petition for Name Change
(not medical or legal) Case Matter Petition for Relief From Late
_ ier Serie Tart (38) Welt-Other Limited Court Case Claim
ploymeni Review Other Civil Petition
Wrongful Termination (38) Other Judicial Review (39)
Other Emplayment (15) Review of Health Officer Order
Notice of Appeal-Labor

Commissioner Appeals

 

CM-010 [Rev July 1 2007]

CIVIL CASE COVER SHEET

Page 2 of 2
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 38 of 52 Page ID #:46

 

 

312 North Spring Street, Los Angeles, CA 90012

 

NOTICE OF CASE ASSIGNMENT
UNLIMITED CIVIL CASE

SUPERIOR COURT OF CALIFORNIA Reece etn Eee
COUNTY OF LOS ANGELES
COURTHOUSE ABGRESS: FILED
Spring Street Courthouse

Superior Court of California
unty of Los Angeles

 

 

Your case is assigned for all purposes to the judicial officer indicated below.

 

 

05/08/2019
Sen R Carer, Exscutva O Soe ! Cem a! Gaur
By. __—SleveDrew deputy
CASE NUMBER:
19STCV16053

 

THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

 

ASSIGNED JUDGE DEPT | ROOM

ASSIGNED JUDGE DEPT | ROOM

 

 

 

Y {Carolyn B. Kuhl 12

 

 

 

 

 

 

 

 

Given to the PlaintiffCross-Complainant/Attomey of Record

on 05/08/2019

(Date)

LACIV 190 (Rev 6/18)
LASC Approved 05/08

Sherri R. Carter, Executive Officer / Clerk of Court

By Steve Drew

, Deputy Clerk

NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE

 

 
Case 2:19-cv-05706-FMO-PJW Document 1-1 Filed 07/01/19 Page 390f52 Page ID#:47  —

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION

The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS

All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS

Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date,

STATUS CONFERENCE

A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative,

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex

judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Pravisionally Complex Cases

Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status, If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.

 

LACIV 190 (Rev 6/18) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE

LASC Approved 05/08
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 40 0f 52 Page ID #:48

t

 

Superior Court of California
County of Los Angeles

    

Los Angeles County
Bar Association
Litigation Section

Los Angales County

Bar Association Labor and
Employment Law Section

-Consumer Attorneys

Association of Los Angeles

 

Southern California
Defense Counset

OKIE OF ritt Dad ot

1 dates
Association of
Business Trial Lawyers

 

California Employment
Lawyers Association

LACIV 230 (NEW)
LASC Approved 4-11
For Optional Use

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

 

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations;
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a

manner that promotes economic case resolution and judicial
efficiency.

The following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to

promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section@

@ Los Angeles County Bar Association
Labor and Employment Law Section®

Consumer Attorneys Association of Los Angeles @
Southern California Defense Counsel@
Association of Business Trial Lawyers @

California Employment Lawyers Association
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 41 0f52 Page ID #:49

#, t

 

NAME ANG ADORESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Reserved fet Gesh's Fie Stamp

 

 

TELEPHONE NO.: FAX NO, (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

 

PLAINTIFF:

DEFENDANT:

STIPULATION — EARLY ORGANIZATIONAL MEETING

 

 

CASE NUMBER:

 

 

 

 

This stipulation is intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties in efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initial conference {in-person or via teleconference or via
videoconference) within 15 days from the date this stipulation {s signed, to discuss and consider
whether there can be agreement on the following:

a. Ate motions to challenge the pleadings necessary? If the issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could an amended
complaint resolve most or all of the Issues a demurrer might otherwise raise? If So, the parties
agree to work through pleading issues so that a demurrer need only raise issues they cannot
resolve. is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or information by any party cure an uncertainty in the pleadings?

b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the

conduct in question could be considered “core.” Ina personal injury case, an incident or

police report, medical records, and repair or maintenance records could be considered
“core.”);

c. Exchange of names and contact information of witnesses;

d. Any insurance agreement that may be available to Satisfy part or all of a judgment, or to
indemnify or reimburse for payments made to satisfy a judgment;

e. Exchange of any other information that might be helpful to facilitate understanding, handling,
or resolution of the case in a manner that preserves objections or privileges by agreement:

f. Controlling issues of law that, if resolved early, will Promote efficiency and economy in other
phases of the case. Also, when and how such issues can be presented to the Court;

g. Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal issues Is reasonably required to make settlement discussions meaningful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

LACIV 225 (Rev 02/15)

LASC Approved 04/11 STIPULATION — EARLY ORGANIZATIONAL MEETING
For Optional Use ;

 

 

Page 1 of 2
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 42 of 52 Page ID #:50

 

 

SHORT TILE. CASE NUMBER.

 

 

 

discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
complaint;

h. Computation of damages, including documents, not privileged or protected from disclosure, on
which such computation is based;

i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
www. lacourt.org under “Civil and then under “General information”).

2. The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint, and _ __ for the cross-
(INSERT DATE} (INSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation. A copy of the General Order can be found at www.lacourt.arg under "Civil",
click on “General Information", then click on “Voluntary Efficient Litigation Stipulations".

3. The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
results of their meet and confer and advising the Court of any way it may assist the parties’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to

the Case Management Conference statement, and file the documents when the CMC
statement Is due.

4. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

Date:

 

 

 

 

 

>
(TYPE OR PRINT NAME) ~ (ATTORNEY FOR PLAINTIFF)
Date:
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~ (TYPE OR PRINT NAME) ” {ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
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LASC Approved 0411: STIPULATION — EARLY ORGANIZATIONAL MEETING Page 20f2
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 43 0f52 Page ID#:51

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NAME AND ADDRESS OF ATTORNEY OF PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Reserved for Clerk's Fla Stump
TELEPHONE NO.: FAX NO. (Cptionaly:
E-MAIL ADDRESS (Optional):

ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

 

 

PLAINTIFF:

 

DEFENDANT;

 

CASE NUMEER,

 

STIPULATION — DISCOVERY RESOLUTION

 

 

 

This stipulation is intended to provide a fast and informal resolution of discovery Issues

through limited paperwork and an informal conference with the Court to aid in the
resolution of the issues.

The parties agree that:

1. Prior to the discovery cut-off In this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informa! Discovery Conference pursuant
to the terms of this stipulation.

2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
and determine whether it can be resolved informally. Nothing set forth herein will preclude a

party from making a record at the conclusion of an Informal Discovery Conference, either
orally or in writing.

3. Following a reasonable and good faith attempt at an informal resolution of each issue to be

presented, a party may request an Informal Discovery Conference Pursuant to the following
procedures:

a. The party requesting the Informal Discovery Conference will:

i. File a Request for Informal Discovery Conference with the clerk's office on the
approved form (copy attached) and deliver a courtesy, conformed copy fo the
assigned department;

ii. Include a brief summary of the dispute and specify the relief requested; and

iii. Serve the opposing party pursuant to any authorized or agreed method of service
thal ensures that the opposing party receives the Request for Informal Discovery
Conference no later than the next court day following the filing.

b. Any Answer to a Request for Informal Discovery Conference must:
i. Also be filed on the approved form (copy attached);
ii. Include a brief summary of why the requested relief should be denied;

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For Optional Use Page 1 of 3

 

 
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iii. Be filed within two (2) court days of receipt of the Request; and

iv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for Informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. If the Court acts on the Request, the parties will be notified whether the
Request for Informal Discovery Conference has been granted or denied and, if granted,

‘ the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informal Discovery Conference.

e. If the conference is not held within twenty (20) days of the filing of the Request for
informal Discovery Conference, unless extended by agreement of the parties and the

Court, then the Request for the Informat Discovery Conference shall be deemed to have
been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the

filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
by Order of the Court.

It is the understanding and intent of the parties. that this Stipulation shall, for each discovery
dispute to which it applies, constitute a writing memorializing a “specific tater date to which
the propounding [or demanding or requesting] parly and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sections 2030,300(c), 2031.320(c), and
2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

 

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For Optional Use Page 2 of 3

 
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The following parties stipulate:
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Page 3 of 3
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 46 of 52 Page ID #:54

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NAME AND ADORESS OF ATIORNEY OR PARTY WITHOUT ATTORNEY. STATE BAR NUMGER Reserved tar Cash's Fle Stamp
TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Optional);

ATTORNEY FOR (Nama):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

 

 

 

COURTHOUSE ADDRESS:
-PORNTTR
DEFENDANT:
INFORMAL DISCOVERY CONFERENCE CASE NUMBER.

 

 

 

(pursuant to the Discovery Resolution Stipulation of the parties)
1. This document relates to:

[-] Request for Informal Discovery Conference
Answer to Request for informal Discovery Conference

2. Deadline for Court to decide on Request:
the Request).

3. Deadline for Court to hold Informal Discovery Conference: {insert date 20 calendar
days follawing filing of the Request).

4. For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, including the facts and legal arguments at issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, including the facts and legai arguments at issue.

 

(insert date 10 calendar days following fiting af

 

 

 

 

 

 

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TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Opticnalj:

ATTORNEY EOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

 

PLAINTIFF:

 

DEFENDANT:

 

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STIPULATION AND ORDER — MOTIONS IN LIMINE “

 

 

 

 

This stipulation is intended to provide fast and informal resolution of evidentiary
issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1. At least days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion in
limine. Each one paragraph explanation must identify the substance of a single proposed
motion in limine and the grounds for the proposed motion.

2. The parties thereafter will meet and confer, either in person or via teleconference or
videoconference, concerning all proposed motions in limine. in that meet and confer, the
parties will determine:

a. Whether the parties can stipulate to any of the proposed motions, If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of
issues,

3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the California
Rules of Court and the Los Angeles Superior Court Rules.

 

LACIV 075 (new)

LASC Approved 04/11 STIPULATION AND ORDER — MOTIONS IN LIMINE
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Case 2:19-cv-05706-FMO-PJW Document 1-1

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SHORT TITLE:

 

CASE NUMBER

 

 

 

The following parties stipulate:

 

 

 

 

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Date:

 

 

 

 

 

 

 

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(ATTORNEY FOR PLAINTIFF)
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(ATTORNEY FOR DEFENDANT)
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JUDICIAL OFFICER

 

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Superior Court of California
County of Los Angeles

 

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKET

 

The person who files a civil lawsuit (plaintiff) must include the ADR information
Packet with the complaint when serving the defendant. Cross-complainants must
serve the ADR Information Packet on any new parties named to the action
together with the crass-complaint.

There are a number of ways to resolve civil disputes without having to sue _
someone. These alternatives to a lawsult are known as alternative dispute
resolution (ADR}.

in ADR, trained, impartial persons decide disputes or help parties decide disputes
themselves. These persons are called neutrals. For example, in mediations, the
neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
the court. Neutrals can help resolve disputes without having to go to court.

 

 

 

LAAOR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
Case 2:19-cv-05706-FMO-PJW Document1-1 Filed 07/01/19 Page 500f52 Page ID #:58

Advantages of ADR

Often faster than going to trial

Often less expensive, saving the litigants court costs, attorney’s fees and expert fees.

May permit more participation, allowing parties to have more control over the outcome.
Allows for flexibility in choice of ADR processes and resolution of the dispute.

Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
mutually agree to remedy.

There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.

If ADR Is binding, the parties normally give up most court protections, including a decision by a judge or
jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
ADR may not be effective if it takes place before the parties have sufficient information to resolve the
dispute.

The neutral may charge a fee for his or her services.

if the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
costs of trial, such as attorney's fees and expert fees.

The Most Common Types of ADR

Mediation

In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution

of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
decide how the dispute is to be resolved. °

# Mediation is particularly effective when the parties have a continuing relationship, like
neighbors or business people. Mediation Is also very effective where personal feelings are
getting in the way of a resolution. This Is because mediation normally gives the parties a chance
to express their feelings and find out how the other sees things.

= Mediation may not be effective when one party is unwilling to cooperate or compromise or
when one of the parties has a significant advantage in power over the other. Therefore, it may
not be a good choice if the parties have a history of abuse or victimization.

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

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Arbitration

In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each
side and then decides the outcome of the dispute. Arbitration is typically less formal than a
trial, and the rules of evidence may be relaxed, Arbitration may be either “binding” or “non-
binding.” Binding arbitration means the parties waive their right to a trial and agree to accept
the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
request a trial if they reject the arbitrator's decision.

Arbitration is best for cases where the parties want another person to decide the outcome of
their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
also be appropriate for complex matters where the parties want a decision-maker who has
training or experience in the subject matter of the dispute.

Mandatory Settlement Conference (MSC)

Settlement Conferences are appropriate in any case where settlement is an option.
Mandatory Settlement Conferences are ordered by the Court and are often held near the date
a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
time exclusively to preside over the MSC. The judge does not make a decision in the case but

assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
settlement.

The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
charge and staffed by experienced sitting civil judges who devote their time exclusively to
presiding over MSCs. The judges participating In the judictal MSC program and their locations
are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
at htto://www.lacourt.org/. This program is available in general jurisdiction cases with
represented parties from independent calendar (IC) and Central Civil. West (CCW) courtrooms.
in addition, on an ad hoc basis, personal injury cases may be referred to the program on the

eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
asbestos calendar court in CCW.

In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
the program. Further, all parties must complete the information requested in the Settlement
Conference Intake Form and email the completed form to mscdepti8@lacourt.org.

LAADR 005 (Rev, 03/17)
LASC Adopted 10-03
Caf. Rules of Court, rule 3.221

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Additional Information

To locate a dispute resolution program or neutral in your community:

® Contact the California Department of Consumer Affairs (www.dca.ca.gzov) Consumer Information
Center toll free at 800-952-5210, or;

e Contact the local bar association (http://www.lacba.org/) or;
e Look ina telephone directory or search online for “mediators; or “arbitrators.”

There may be a charge for services provided by private arbitrators and mediators.

A list of approved State Bar Approved Mandatory Fee Arbitration programs js available at
http://calbar.ca.pov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspx#19

To request information about, or assistance with, dispute resolution, call the number listed below. Or you may

call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacounty.gov/programs/dispute-resolution-propram-d

County of Los Angeles Dispute Resolution Program
3175 West 6th Street, Room 406
Los Angeles, CA 90020-1798
TEL: (213) 738-2621
FAX: (213) 386-3995

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

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